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pebtor1 = Winilneds leialy Langston r i. E D

First Name | ce Name Last Ngme

coco filing) First Name Middle Name Last Name 20 19 HOY -|, AM | | ; iF 9

United States Bankruptcy Court for the Western Disyict of Michigan slag esate
Ne ey, eh MICHELLE if, WILSOH, CLE
casecumoer LTE OG ! U.S. BANKRUPTCY COUR

WESTERN NicT fc }
SOL Ta iy

Fill in this information to identify your case:

 

 

  

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6 OSE] check if this is an
amended filing

Official Form 103A

 

Application for Individuals to Pay the Filing Fee in Installments 12/15

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information.

oe Specify Your Proposed Payment Timetable

1. Which chapter of the Bankruptcy Code & chapter 7
are you choosing to file under? gQ Chapter 11
QO) Chapter 12
QO) Chapter 13

2. You may apply to pay the filing fee in up to
four installments. Fill in the amounts you You propose to pay...
propose to pay and the dates you plan to ae
pay them. Be sure all dates are business

days. Then add the payments you propose $ 2 2 : 5 a vate filing of the | | 92 4

to pay.
On or before this date........ MM / DD/YYYY
You must propose to pay the entire fee no

later than 120 days after you file this Q
bankruptcy case. If the court approves your $ >: i! > On or before this date........... 12 22. 2019
application, the court will set your final MM / DD/YYYY

—
payment timetable. 34% > O fi 0
$ 1 n or before this date........... aa T Boley
+ $ 8 a. IS On or before this date........... 2 22 207 KR LOt

Total 6455 “@ Your total must equal the entire fee for the chapter you checked in line 1.

 

By signing here, you state that you are unable to pay the full filing fee at once, that you want to pay the fee in installments, and that you
understand that:

= You must pay your entire filing fee before you make any more payments or transfer any more property to an attorney, bankruptcy petition
preparer, or anyone else for services in connection with your bankruptcy case.

= You must pay the entire fee no later than 120 days after you first file for bankruptcy, unless the court later extends your deadline. Your
debts will not be discharged until your entire fee is paid.

if you do not make any payment when it is due, your bankruptcy case may be dismissed, and your rights in other bankruptcy proceedings

x i Mn iu | x x

 

Signdtuy® of Debtor Se = [7 Signature of Debtor 2 Your attorney's name and signature, if you used one
Date 0) 0 | Date Date
MM / ODI YYYY MM / OD /YYYY MM / DD /YYYY

Official Form 103A Application for Individuals to Pay the Filing Fee in Installments
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Fill in this information to identify the case:

 

 

 

 

Debtor 1 Whitey Leigh Langs fon
First Name t MiddigjName Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name
United States Bankruptcy Court for the: Westerns District of
Case number Michigan
(If known)
Chapter filing under: it
Chapter 7

Q) Chapter 11

Q) Chapter 12

Q) Chapter 13

 

 

Order Approving Payment of Filing Fee in Installments

 

After considering the Application for Individuals to Pay the Filing Fee in Installments (Official Form 103A), the
court orders that:

[ ] The debtor(s) may pay the filing fee in installments on the terms proposed in the application.

[ ] The debtor(s) must pay the filing fee according to the following terms:

 

You must pay... On or before this date...
$ Month / day / year
$ pe
Month / day / year
$ —
Month / day / year
+ $

 

Month / day / year

a (

Until the filing fee is paid in full, the debtor(s) must not make any additional payment or transfer any
additional property to an attorney or to anyone else for services in connection with this case.

By the court:
Month / day / year United States Bankruptcy Judge

 
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